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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                      Case No.: 10-61220-Civ-Martinez/McAliley

  RONALD J. WALTMAN,

        Plaintiff,

  v.

  REGIONAL ADJUSTMENT BUREAU, INC.

       Defendant.
  _________________________________________/

         JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and having amicably resolved all

  matters in controversy, the parties jointly stipulate to a Dismissal with Prejudice of

  this action with each party to bear its own attorney’s fees and costs except as

  otherwise agreed by the parties.


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  By: /s/ Donald A. Yarbrough             By: /s/ Matthew A. Rabin
  Donald A. Yarbrough, Esq.               Matthew A. Rabin, Esq.
Case 0:10-cv-61220-JEM Document 19 Entered on FLSD Docket 04/26/2011 Page 2 of 2




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  _______________________________/

                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 26, 2011, I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se
  parties identified on the attached Service List in the manner specified, either via
  transmission of Notices of Electronic Filing generated by CM/ECF or in some
  other authorized manner for those counsel or parties who are not authorized to
  receive electronically Notices of Electronic Filing.


                                               s/Donald A. Yarbrough
                                               Donald A. Yarbrough, Esq.

                                   SERVICE LIST

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